                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

ATLANTIC SPECIALTY INSURANCE CO.                                       CASE NO. 17-cv-9318
AND EXCESS UNDERWRITERS
SUBSCRIBING SEVERALLY TO POLICY
NO. TMU-407387                                                         JUDGE: ELDON E. FALLON

              Plaintiff,                                               MAG.: JANIS VAN MEERVELD

v.

PHILLIPS 66 COMPANY,

              Defendant.


              PHILLIPS 66 COMPANY’S MEMORANDUM IN SUPPORT OF
                  MOTION FOR PARTIAL SUMMARY JUDGMENT

            Phillips 66 Company (“Phillips 66 “) submits this Memorandum in Support of its

Motion for Partial Summary Judgment. For the reasons that follow, partial summary

judgment in Phillips 66’s favor is appropriate with respect to the purely legal issue of

Atlantic Specialty Insurance Company’s (“Atlantic”) duty to defend.

       I.      APPLICABLE LAW

            An insurer’s duty to defend and its duty to indemnify an insured are separate and

distinct duties.1 An insurer’s duty to defend is much broader than its duty to indemnify.2

While the duty to indemnify depends on conclusively established facts, “the duty to

defend arises whenever the pleadings against the insured disclose even a possibility of

1
    Arceneaux v. Amstar Corp., 2010-2329 (La. 7/1/11); 66 So. 3d 438, 450.
2
 Suire v. Lafayette City-Parish Consol. Government, 2004-1459 (La. 4/12/05); 907 So. 2d 37, 51-2; American Home
Assurance Co. v. Czarniecki, 230 So.2d 253, 259 (La. 1969); Bamert v. Johnson, 40,066 (La. App. 2 Cir. 8/17/05); 909
So. 2d 705, 708.

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liability under the policy.”3 Under Louisiana law, an insurer’s duty to defend is governed

by the following well-settled principles:

        Even though a petition may allege numerous claims for which coverage is
         excluded, a duty to defend exists if there is at least a single factual allegation in the
         petition under which coverage is not unambiguously excluded;4

        “Under this analysis, the factual allegations of the plaintiff’s petition must be
         liberally interpreted to determine whether they set forth grounds that raise even the
         possibility of liability under the policy;”5

        “The test is not whether the allegations unambiguously assert coverage, but rather
         whether they do not unambiguously exclude coverage;”6

        “Unless unambiguous exclusion of all of the plaintiff’s claims is shown, the duty
         to defend arises;”7

        “Because the scope of the insurer’s duty to defend presents an issue of law,
         summary judgment is an appropriate procedural vehicle to decide the issue
         presented in this litigation.”8


3
    Arceneaux v. Amstar Corp., 2015-0588 (La. 9/7/16), 200 So.3d 277, 282.
4
    Motorola, Inc. v. Associated Indem. Corp., 02-0716 (La. App. 1st Cir. 6/25/04), 878 So.2d 824, 836.
5
    North Amer. Treat Sys. v. Scottsdale Ins., 2005-0081 (La. App. 1st Cir. 8/23/06), 943 So. 2d 429, 443.
6
  Id. at 444. See also Martco Ltd. P’ship v. Wellons, Inc., 588 F. 3d 864, 874 (5th Cir. 2009) (insurer’s argument
that pleadings must affirmatively assert a claim within coverage “would require an inversion of Louisiana’s standard
for assessing the duty to defend issue” because a Court “must ask whether the allegations do not unambiguously
prevent a conclusion that coverage could exist.”); City of Plaquemine v. North American Constructors, Inc., 683 So.
2d 386 (La. Ct. App. 1st Cir. 1996) (“The fact that the allegations of the petition could be clarified to unambiguously
include coverage also shows the original petition did not unambiguously exclude coverage.”) (quoting Fed. Ins. Co.
v. St. Paul Fire & Marine Ins. Co., 638 So.2d 1132, 1135 (La. Ct. App. 1994)); Colomb v. U.S. Fid. & Guar. Co.,
539 So.2d 940, 944 (La. Ct. App.1989) (“Plaintiff’s petition need not include facts indicating that the injury arose
during the period the policy was in effect. The duty to defend rule requires only that the facts alleged in the petition
do not unambiguously exclude coverage. As we find that the allegations of the petition herein do not unambiguously
exclude [the time of bodily injury], appellant is required to participate in appellee’s defense regardless of the
possible outcome.”) (quoting Armstrong v. Land & Marine Applicators, Inc., 463 So.2d 1327, 1331 (La. App. 5th
Cir. 1984)); Gootee Constr., Inc. v. Travelers Prop. Cas. Co. of Am., CV 15-3185, 2016 WL 1545658, at *5 (E.D.
La. Apr. 15, 2016) (“Where the complaint does not state facts sufficient to clearly bring the case within or without
the coverage, the general rule is that the insurer is obligated to defend if there is, potentially, a case under the
complaint within the coverage of the policy.”); Lyda Swinerton Builders, Inc. v. Oklahoma Sur. Co., 877 F.3d 600,
613 (5th Cir. 2017) (Court “may draw inferences from the petition that may lead to a finding of coverage” for
purposes of duty to defend).
7
    Suire, 907 So. 2d at 52.
8
    Triche v. St. Paul Guardian Ins. Co., 2009-0612 (La. App. 1 Cir. 10/23/09), 2009 WL 3452757, *2.


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       II.      THE ATLANTIC POLICY

             Atlantic issued Policy No. B5JH9075516 (“Atlantic Policy”), with a policy period

of October 1, 2016 through October 1, 2017, to Blanchard Contractors, Inc.

(“Blanchard”).9 Under the Atlantic Policy, Atlantic agreed to defend an “insured” against

any “suit” seeking damages that the insured is legally obligated to pay because of “bodily

injury” to which the Atlantic Policy applies.10

             Pursuant to an “Additional Insured and Waiver of Subrogation Endorsement

(Blanket),” the word “insured” includes any organization that Blanchard is obligated by

an “insured contract” to include as an additional insured, but only with respect to liability

arising out of Blanchard’s work.11 The word “suit” includes a civil proceeding alleging

damage because of “bodily injury.”12 The phrase “bodily injury” means “bodily injury,

sickness or disease sustained by a person, including death resulting from any of these at

any time.”13 The phrase “insured contract” includes a written contract or agreement

pertaining to Blanchard’s business under which Blanchard assumed P66’s tort liability.14

             In sum, Atlantic was required to defend Phillips 66 if:

         (1) Blanchard was obligated to include Phillips 66 as an additional insured;

         (2) Such obligation arose from a written agreement pertaining to Blanchard’s

                business under which Blanchard assumed Phillips 66’s tort liability; and

9
    Exhibit B, Atlantic Policy, at BCI-000477.
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     Exhibit B, Atlantic Policy, at BCI-000480.
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     Exhibit B, Atlantic Policy, at BCI-000480.
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     Exhibit B, Atlantic Policy, at BCI-000505.
13
     Exhibit B, Atlantic Policy, at BCI-000500.
14
     Exhibit B, Atlantic Policy, at BCI-000501 – 502.


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       (3) A suit was commenced against Phillips 66 which raised the possibility that

              Phillips 66 could be liable for bodily injury arising out of Blanchard’s work.

All of those elements are easily met here.15

     III.     THE MASTER SERVICES AGREEMENT OBLIGATED BLANCHARD TO INCLUDE
              PHILLIPS 66 AS AN ADDITIONAL INSURED AND TO ASSUME PHILLIPS 66’S
              TORT LIABILITY

         On November 17, 2016, Phillips 66 and Blanchard entered into USA Master

Services Agreement No. CW2291283 (“MSA”).16                               The MSA required Blanchard to

obtain “Commercial General Liability insurance” showing Phillips 66 as an additional

insured.17

         The MSA further required Blanchard to assume Phillips 66’s liability for any and

all causes of action, claims, suits, losses, liabilities, fines, penalties, costs, damages,

judgments, awards and expenses arising out of or related in any way to Personal Injury of

the Employees or officers of Blanchard arising out of or occurring in connection with a

Service Order.18


15
    See, e.g., Hanover Ins. Co. v. Superior Labor Servs., Inc., 2017 WL 2984867 (E.D. La. July 12,
2017), reconsideration denied, 2017 WL 3621242 (E.D. La. Aug. 21, 2017) (holding that an insurer had a duty to
defend a putative additional insured under a similar additional insured endorsement because “[b]oth
the Adams and St. Pierre plaintiffs allege that Allied was individually at fault and that Allied is liable for the work of
Masse, or, at least, the allegations do not unambiguously exclude the possibility that Allied may be liable for
Masse’s operations.”).
16
  Exhibit A, Declaration of Mr. Todd Denton, and attachment A-1, USA Masters Services Agreement with
Blanchard.
17
  Exhibit A, Declaration of Mr. Todd Denton, and attachment A-1, USA Masters Services Agreement with
Blanchard, at Section 19.4.
18
   Exhibit A, Declaration of Mr. Todd Denton, and attachment A-1, USA Masters Services Agreement with
Blanchard, at Section 18.1.2. Although the word “assume” is not used in the MSA’s indemnity provisions, the law
is clear that a party assumes another’s liability by agreeing to indemnify it. See, e.g., Musgrove v. Southland Corp.,
898 F.2d 1041, 1044 (5th Cir. 1990) (a contractual assumption of liability is “typically is in the form of an indemnity
agreement.”); United Nat. Ins. Co. v. Dexter Honore Const. Co., LLC, 2009 WL 1182259, at *11 (W.D. La. Apr. 30,
2009) (“the BOA is an insured contract under the Policy because Honore agreed to indemnify Fluor in the BOA.”).


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             Accordingly, the first and second elements of Atlantic’s duty to defend are met.

       IV.      BLANCHARD’S WORK, THE INCIDENT, AND THE CLAIMS FOR BODILY
                INJURY

             On January 26, 2017, a Phillips 66 affiliate issued Service Order No. 4523432638

(“Service Order”) to Blanchard.19                  The Service Order stated that it was “issued in

accordance with the terms and conditions in Master Service Agreement CW2291283,”

and required “Blanchard Contractors to provide labor and materials for RV60 ILI tool

runs” regarding the “RV-60 (VP01) 20in Pipeline Pigging Project” in Paradis,

Louisiana.20

             On February 9, 2017, an explosion and fire occurred on a segment of the RV-60

(VP01) natural gas liquid pipeline (“Pipeline”) located at Phillips 66’s Paradis, Louisiana

pump station near the “Williams Discovery” plant.21

             On June 23, 2017, Desmond Calloway (“Mr. Calloway”), an employee of

Blanchard, filed suit against Phillips 66 in the District Court of Harris County, Texas,

Civil Action Number 2017-42198, alleging that he sustained personal injuries, including

severe burns, while performing maintenance on the Pipeline at the time of the explosion

and fire (“Calloway Suit”).22 Mr. Calloway alleged that Phillips 66 was liable for the

negligent acts of its employees, agents, or representatives for the injuries he sustained as




19
     Exhibit A, Declaration of Mr. Todd Denton, ¶ 1, and attached A-2, Service Order.
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     Exhibit A, Declaration of Mr. Todd Denton, ¶ 1, and attached A-2, Service Order.
21
     Complaint (Doc. 1) at ¶ 12; Exhibit A, Declaration of Mr. Todd Denton, ¶¶ 1, 3.
22
     Complaint (Doc. 1) at ¶ 13; Exhibit C, Calloway Petition.


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a result of the explosion and fire.23

            On June 28, 2017, Jacob Jambon, also an employee of Blanchard, intervened in

the Calloway Suit, and asserted claims for personal injuries, including severe burns,

against Phillips 66 which he alleges to have incurred while performing maintenance on

the Pipeline on February 9, 2017 (“Jambon Suit”).24 Mr. Jambon alleged that Phillips 66,

acting individually, or by and through agents, officers, directors, servants, and

employees, was negligent and, therefore, liable for the injuries he sustained as a result of

the explosion and fire.25

            Accordingly, the third and final element of Atlantic’s duty to defend – i.e., a suit

against Phillips 66 which raised the possibility that Phillips 66 could be liable for bodily

injury arising out of Blanchard’s work – is also met. Therefore, Atlantic owes Phillips 66

a duty to defend those suits.

       V.       ATLANTIC CANNOT EVADE ITS DUTY TO DEFEND BY RELYING ON AN
                UNPROVEN ASSERTION THAT THE MSA IS INVALID

            Atlantic’s refusal to defend Phillips 66 rests on its assertion that the MSA’s

indemnity and insurance provisions are invalid under La. R.S. 9:2800.1. But Atlantic’s

assertion is wrong as a matter of law.26 Further, even if there is a question of fact to be

determined as to whether Atlantic’s reliance on 9:2801.1 is correct, Louisiana law is clear

that “the duty to defend arises whenever the pleadings against the insured disclose even a

23
     Exhibit C, Calloway Petition, at ¶ 18.
24
     Complaint (Doc. 1) at ¶ 14; Exhibit D, Jambon Petition.
25
     Exhibit D, Jambon Petition, at ¶¶ 17, 19 – 27.
26
  Phillips 66 filed a separate Motion for Partial Summary Judgment on this issue demonstrating that Atlantic
Specialty’s reliance on La. R.S. 9:2780.1 is incorrect as a matter of law.


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possibility of liability under the policy”27 – not after a court considers and adjudicates an

insurer’s fact-based coverage defenses.

           The reason for the foregoing rule is simple: The duty to defend can only have its

intended value when the underlying action is ongoing, otherwise it is merely a duty to

reimburse defense expenses after-the-fact.28 As one Court explained:

           Defense is the rendering of a service at the time—the emphasis is on the
           present tense: Soldiers defend their country, attorneys defend their clients,
           chess players defend the King against capture, football players defend the
           end zone.

           Reimbursement, by contrast, involves an element of retrospection.
           Someone fronted money at time one, and someone else later made up for it
           at time two: “Thanks for picking up the tab for lunch today, I’ll reimburse
           you tomorrow”; “Be sure to keep your travel expense records so the
           company can reimburse you when you get back”—that sort of thing.

           It should be immediately apparent that the right to receive a defense is
           not equal to the right to receive reimbursement and cannot be equated
           with it. There is a distinct benefit in not having to pony up money
           immediately. Such a benefit is most acutely felt when an answer to a
           complaint is due in civil court and a lawyer must be found and paid to draft
           and file it. At the very least the benefit of a defense is the time value of
           money, but it also involves elements of convenience (such as not having to
           keep funds on hand earmarked for legal costs) and focus (not having to
           worry about the selection of legal counsel when one is sued).29

Thus, “[i]mposition of an immediate duty to defend is necessary to afford the insured




27
     Arceneaux v. Amstar Corp., 2015-0588 (La. 9/7/16), 200 So.3d 277, 282.
28
   If an insurance company does not immediately acknowledge its duty to defend, the duty to defend is effectively
converted into a duty to reimburse defense costs to the policyholder, after-the-fact. However, “[t]he duty to provide
reimbursement for costs as they are incurred is separate from a duty to defend”, and the duty to defend is much more
valuable. See, e.g., F.D.I.C. v. Booth, 824 F.Supp. 76, 80 (M.D. La. 1993).
29
   Crawford v. Weather Shield MFG., Inc., 38 Cal. Rptr. 3d 787, 805-8 (Cal. Ct. App. 2006) (Emphasis added,
citations omitted).


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what it is entitled to: the full protection of a defense on its behalf.”30 Because timing is a

critical factor, the existence of the duty must be easily ascertainable. Unless the test is

simple, thereby rendering disputes over the duty subject to expeditious resolution, the

value of the duty to defend is destroyed.31

           Recognizing the foregoing principles, numerous courts have held that an insurer’s

duty to defend exists and persists until the contract that the insurer claims is invalid has

been adjudicated null and void. See, In re WorldCom, Inc. Sec. Litig., 354 F. Supp. 2d

455, 465 (S.D.N.Y. 2005) (an insurer’s duty to defend exists and persists until there has

been a judicial determination that a contract is null and void); AEGIS v. Rigas, 382 F.

Supp. 2d 685 (E.D. Pa. 2004) (collecting cases and holding that defense costs are owed

by an insurer despite the insurer’s claim that the contract was void “because a contract is

in effect until the issue of rescission is adjudicated”); Allianz Ins. Co. v. Guidant Corp.,

884 N.E.2d 405, 419-20 (Ind. App. 2008) (“to say that the mere act of filing a declaratory

action ‘suspends’ the duty to defend would . . . essentially write the duty to defend out of

liability insurance policies.”); Fed. Ins. Co. v. Tyco Int’l Litd., 2 Misc. 3d 1006(A) (N.Y.

Sup. Ct.2004) (“an insurer’s present duty to defend the insured under a liability policy is

unaffected by an unproven claim for rescission”) (citing Gon v. First St. Ins. Co., 871

F.2d 863, 864–65 (9th Cir.1989) (affirming district court’s order that insurer pay


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     Montrose Chem. Corp. v. Superior Court, 861 P.2d 1153, 1153 (Cal. 1993).
31
   Haskel, Inc. v. Superior Court, 33 Cal.App.4th 963, 979 (1995), as modified (Apr. 25, 1995) (“An insured obtains
liability insurance in substantial part in order to be protected against the trauma and financial hardship of litigation.
If the courts did not impose an immediate defense obligation upon a showing of a ‘potential for coverage,’ thereby
relieving the insured from the burden of financing his own defense and then having to sue the insurer for
reimbursement, the premiums paid by the insured would purchase nothing more than a lawsuit.”).


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insured’s defense costs after the district court had held insurer’s rescission action “in

abeyance”); Indep. Petrochem. Corp. v. Aetna Cas. & Sur. Co., 654 F. Supp. 1334, 1345–

46 (D.D.C. 1986), rev’d in part on other grounds, 944 F.2d 940 (D.C. Cir.1991) (insurer

owed a duty to defend until the insurer proved that the contract was void); Natl. Union

Fire Ins. Co. of Pitt. v. Brown, 787 F.Supp. 1424, 1427 n. 8 (S.D. Fla. 1991) (contract

remained in effect and insurer had a duty to defend until the insurer’s question of

contractual validity was “fully litigated”); Hoechst Celanese Corp. v. Natl. Union Fire

Ins. Co. of Pitt., 1994 WL 721618 at *4 (Del. Super. Ct. 1994) (insurer was obligated to

defend despite its assertion that contract was invalid).

          Under Louisiana law, an insurer has a duty to defend unless there is no possibility

of coverage under the policy. There is a possibility of coverage here. Thus, Atlantic

owed Phillips 66 a defense and cannot rely on its unproven assertion that the MSA should

be declared invalid. Accordingly, the issue of Atlantic’s duty to defend Phillips 66 is ripe

for determination, Atlantic cannot establish that coverage is unambiguously excluded

under its policy, and the Court should grant Phillip 66’s motion.

    VI.       CONCLUSION

          Blanchard agreed to name Phillips 66 as an additional insured under its liability

policies. In accordance with that agreement, Atlantic issued a liability policy covering

Phillips 66, as an additional insured, for bodily injury claims. Now that Phillips 66 has

been sued for bodily injury claims as a result of the February 9, 2017 incident, Atlantic

has reneged on its promise and attempts to hide behind an erroneous and unproven

allegation that the MSA is invalid. Louisiana law does not allow an insurer to evade its

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duty to defend by relying on unilateral and unproven assertions. Instead, the duty to

defend arises as soon as the pleadings disclose any potential for coverage under the

policy.32 Accordingly, Phillip 66’s motion that Atlantic owed a duty to defend Phillip 66

in the Calloway and Jambon Suits should be granted.

                                         Respectfully Submitted:

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     Arceneaux, 200 So. 3d at 282.


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                              CERTIFICATE OF SERVICE

         I hereby certify that a copy of the above and foregoing was filed electronically

with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all

counsel of record by operation of the Court’s electronic filing system.


         Baton Rouge, Louisiana, this 10th day of April, 2018.


                                     /s/ Michael deBarros
                                    Michael J. deBarros




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